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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                       (at London)

  UNITED STATES OF AMERICA,                          )
                                                     )
            Plaintiff,                               )         Civil Action No. 6:18-CV-281-CHB
                                                     )
  v.                                                 )
                                                     )         ORDER ACCEPTING WARNING
  ESTATE OF VESTA FLANNERY,                          )              ORDER REPORT
  DECEASED, et al.,                                  )
                                                     )
            Defendants.
                                         ***   ***       ***    ***
       Attorney James D. Hodge was appointed to serve as warning order attorney for

Defendant Unknown Spouse of Carolyn Hillard [R. 24]. Attorney Hodge has now filed his

report and requests payment of his attorney fees [R. 32]. The Court being otherwise sufficiently

advised;

       IT IS HEREBY ORDERED as follows:

       1.        The Warning Order Report is ACCEPTED, and attorney Hodge’s Motion for an

Award of Fees [R. 32] is GRANTED.

       2.        Attorney Hodge is relieved of any further duties as warning order attorney in this

matter. It is further ORDERED that he be allowed an attorney fee of $200.00, plus costs and

expenses of $8.80.

             This the 10th day of May, 2019.




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